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                                 UNITED STATES DISTRICT COURT
                                   DISTRICT OF CONNECTICUT


ZOEY METZNER, et al.,                                      :
                                                           :
        Plaintiffs,                                        :
V.                                                         :    CIVIL NO. 3:20-cv-00784
                                                           :
QUINNIPIAC UNIVERSITY,                                     :
                                                           :
                                                           :
        Defendant.                                         :    DECEMBER 24, 2020
                                                           :
                                                           :


      QUINNIPIAC UNIVERSITY’S NOTICE OF SUPPLEMENTAL AUTHORITY
                  IN SUPPORT OF ITS MOTION TO DISMISS

        Defendant Quinnipiac University (“Quinnipiac”) respectfully submits for the Court’s

consideration this Notice of Supplemental Authority to alert the Court of a recent decision issued

in Lindner v. Occidental College, Case No. CV20-8481-JFW(RAOx), 2020 WL 7350212, (C.D.

Cal. Dec. 11, 2020). In Lindner, Judge John F. Walter granted a motion to dismiss a similar

tuition-based putative class action complaint relating to a college’s decision to transition its

spring 2020 semester to a virtual format in response to COVID-19. The order dismissed with

prejudice claims for breach of contract, breach of implied contract, unjust enrichment,

conversion, and money had and received. A true and correct copy of this order is attached as

Exhibit 1.1

        This recent decision is relevant to Quinnipiac’s same arguments on educational

malpractice, breach of contract, breach of implied contract, unjust enrichment, and conversion.

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  While not a point raised in the parties’ briefs, Lindner also holds that parents of adult students did not have
standing to bring their claims against the college.
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Quinnipiac asks that the Court consider this new decision when assessing the parties’ arguments

in this matter.

                                                   DEFENDANT,
                                                   QUINNIPIAC UNIVERSITY,


                                                   By     /s/ Edward J. Heath
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                                       CERTIFICATION

       I hereby certify that on December 24, 2020, a copy of the foregoing was filed

electronically and served by mail on anyone unable to accept electronic filing. Notice of this

filing will be sent by e-mail to all parties by operation of the Court’s electronic filing system or

by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic

Filing. Parties may access this filing through the Court’s CM/ECF System.




                                                             /s/ Edward J. Heath
                                                             Edward J. Heath




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